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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

John Doe
                                    Plaintiff,
v.                                                    Case No.: 1:18−cv−07429
                                                      Honorable Virginia M. Kendall
University of Chicago, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 3, 2019:


        MINUTE entry before the Honorable Young B. Kim: In light of the settlement
conference set before the assigned District Judge, the June 10, 2019 status hearing and
August 13, 2019 settlement conference scheduled to take place before this court are both
cancelled. All matters relating to the referral of this action having been concluded, the
referral is closed and the case is returned to the assigned District Judge. Mailed notice
(ma,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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